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                FoR THE THIRTIETIT JUDIcIAL DrsrRrcr AT rvrnll&nrslUN
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                                                                               EY
 TOMEKAL.TAPER

         Plaintiff,
                                                              Docket No. CT-           z::8l1
 vs.                                                          Division:
                                                              JURYD
 NICHOLAS EDWARD DUGGAN and
 JACK KEY AUTO TRANSPORT, INC.
 AKA RED LEASING, LLC.

        Defendants.


                      COMPLAINT F'OR AUTOMOBILE NEGLIGENCE


 TO TIfi HONORABLE JUDGES OF'THE CIRCUIT COURT OF SI{ELBY COUNTY,
 TENNESSEE F'OR THE THIRTIETH JUDICIAL DISTRICT AT MEMPIIIS:

        COMES NOW your Plaintiff, Tomeka L. Taper, by and through counsel, and files this

 Complaint against Defendants, Nicholas Edward Duggan and Jack Key Auto Transport, Inc., for

 her personal injuries and damages and would respectfully state unto this Honorable Court the

 following, to wit:

                                 JURISDICTION AND VENUE

         1.     Plaintiff, Tomeka L. Taper, respectfully alleges that she is an adult resident

 citizen of Memphis, Shelby County, Tennessee.

        2.      Upon information and belief, Plaintiff alleges that Defendant, Nicholas Edward

 Duggan ("Duggan"), is ar adult resident citizen of Texas who resides at 218 Southem Be1le,

 Coppeil, Texas, 75019.

        3.      Upon information and belief, Plaintiff alleges that Defendant, Jack Key Auto




                                                                                       EXHIBIT A
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 Transporl, Inc. AKA Red Leasing, LLC. is a Texas corporation authorized to and doing busmess

 in Tennessee and may be served with process through their designated registered agent Evilsizor

 Transportation Services, Sharon Lee Seals, 1732 Carroll Road, Morristown, Tennessee, 37813.

         4.         Plaintiff futher alleges that this cause of action arises in tort out of personal

 injuries and damages incurred as a result of an automobile wreck which occurred in Memphis,

 Sheiby County, Tennessee, on or about December 11,2013. Jurisdiction and venue are proper

 with this court.

                                                   FACTS

         5.         Plaintiff alleges that at all times material hereto, Defendant, Jack Key Auto

 Transport,   Inc. AKA      Red Leasing, LLC., was the registered owner of the vehicle driven by

 Defendant, Nicholas Edward Duggan.          At   a1l times pertinent   to the allegations set forlh in this

 Complaint, Nicholas Edward Duggan was an agent, servant, and/or employee and was driving

 said vehicle with the permission, consent, or approval of Defendant, Jack Key Auto Transporl,

 Inc.. Thus, Plaintiffs rely upon Tennessee Code Annotated $55-10-311 and $55-10-312 and the

 Doctrine of Respondeat Superior, Negligent Entrustrnent, and Agency, whereupon Plaintiffs

 would allege that every act of negligence as alleged herein against Defendant, Nicholas Edward

 Duggan, is imputed to Defendant, Jack Key Auto Transport, Inc., and they are liab1e to Plaintiffs

 for their resulting injuries and damages.

         6.         Upon information and belief, Plaintiff alleges that on or about December 11,2013

 at approximately 12:15 p.m., Defendant, Nicholas Edward Duggan, was operating a 2012 WSTR

 Semi, bearing Texas license tag number RN7K78, owned                    by   Defendant, Jack Key Auto

 Transport, Inc. AKA Red Leasing, LLC. in an eastbound direction on I-40 approximately one

 mile west of the Riverside Drive Exit in the center lane of traffic.
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        7.       Plaintiff alleges that at the time of the subject wreck Plaintiff, Tomeka L. Taper,

was operating a 2011 Chewolet Impala, also in an eastbound direction on I-40 approximately

one mile west of the Riverside Drive     Exit in the outside lane of traffic.

        8.       Plaintiff alleges that suddenly and without waming, Defendant,                  Duggan,

negligently changed lanes into Plaintiff s lane of travel by traveling from the center lane where he

was traveling into the outside lane, which was the lane    oftravel Plaintiff had maintained.

        9.       Plaintiff alleges that Defendant Duggan failed to keep a proper lookout by changing

lanes into   Plaintiffs lane of travel and negligently failed to maintain proper control ofhis vehicle,

striking the right front passenger lane of travel, striking the vehicle         in which Plaintiff was
traveling.

        10.      Following this aforementioned wreck, the Defendant Duggan left the scene ofthe

accident, did not stop his vehicle, and continued heading south on I-240.

        11.      Plaintiff, in an effort to comply with applicable Tennessee law and exchange

information which should occur after a wreck, followed the Defendant arrd maraged to stop

Defendant from proceeding further southbound onl-240.

        12.      After stopping his vehicle the Defendant, Duggan, exited his vehicle with a tire

iron in his hand.

        13.      Defendant Duggan approached Plaintiff s vehicle in a tkeatening manner.

        14.      Upon information and belief, Defendant Duggan yelled at Plaintiff to "get back in

the car".

        15.      Furthermore, upon information and belief, Defendant Duggan stated to Plaintiff

that "I am going to   kill you".

        16.      Defendant Duggan began violently striking Plaintiff s car with a tire     iron.    As a
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 result of his violent actions, Defendant Duggan broke thlee side windows, the passenger side

 mirror, and dented the h'unk to Plaintiffs vehicle.

            17.   Plaintiff was inside the vehicle at   al1   times and was in fear ofbeing hit and for her

 life by Defendant the entire time.

            18.   Defendant Duggan was taken into custody by the Memphis City Police for

 assault.

            19.   Furthermore, Defendant Duggan was also charged with leaving the scene of an

 accident-

            20.   Defendant Duggan, was also charged with aggravated assault.

            21.   Defendant Duggan was also charged with felony vandalism.

            22.   Plaintiff further alleges that the impact between the vehicle in which Plaintiff

 were traveling and Defendant's vehicle, as well as Defendant's conduct after the incident wreck,

 resulted in Plaintiffs' injuries and damages as a direct result of Defendants' negligence, herein

 described.




                            NEGLIGENT ACTS AND/OR OMISSIONS

            23.   Plaintiff charges and alleges that Defendant, Nicholas Edward Duggan, is g*lty

 of one, some, or all of the following acts and/or omissions of common law negligence which acts

 are imputed to Defendant, Jack Key Auto Transpofi, Inc.             AKA Red Leasing, LLC. to-wit:

                  (a)    Negligently failing to use the degree ofcare and caution in the operation
                         of the vehicle as was required of a reasonable and prudent person under
                         the same or similar circumstances existing at the time and place of the
                         aforementioned collision;

                  (b)    Negligenlly failing to maintain        a   proper lookout ahead;
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               (c)       Negligently failing to maintain proper control ofthe vehicle under the
                         existing circumstances;

               (d)     Negligenfly failing to devote full time and attention to the operation of the
               vehicle;

               (e)       Negligently failing to adequately and reasonably monitor the flow of
                         traffic;

               (0        Negligently failing to use reasonable care to avoid injury to others while
                         operating a motor vehicle;

               (g)       Negligently failing to signal his tum;

               (h)       Negligently speeding under the then and there existing circumstances;

               (i)       Negligently failing to yield to the plaintiff;

               0)        Negligenfly changing lanes without determining          if   same could be done
                         safely; and

               (k)       Negligently failing to wam the plaintiff.


        24.    Plaintiff charges and alleges that at the time of the wreck in question, the

 following statutes of the State of Tennessee were in full force and effect and were violated by

 Defendant, Nicholas Edward Duggan, constituting negligence per se, and imputed to Defendant,

 Jack Key Auto Transport, Inc.   AKA    Red Leasing,   LLC. , to-wit:

               Section   55-8-103        Requfued obedience to traffrc ldws  -
                                         It is tmlal'eful and, unless othet"wise declmed in this chapter and
                                         chapter 10, parts 1-5 of this title with respect to particular
                                         ffinses, it is a Class C misdemeanor, for any person to do mty
                                         act forbidden or fail to perforw any act required in this chapter
                                         and chapter 10 ofthis title

               Section   55-8-123        Drieing on roadwuys lanedfor trafJic -
                                         Wenever any roadway has been divided into two (2) or more
                                         clearly marked lcmes for trffic, the following rules, in addition
                                         to all others consistent with this section, shall apply:
                                         (1) A vehicle shall be driven as nearly as placticable entirely
                                         within a single lcme cmd shall not be moved front that lane until
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                                  the driver has first ascertained that the moi)ement can be made
                                  with sofety.

             Section 55-8-136     D   vers to exercise due care   -
                                  (a) Notwithstanding the foregoing provisions of this chapter,
                                  every drfuer of a vehicle shall exercise due care to avoid
                                  colliding with any pedeslrian upon any roadway, and shall give
                                  wmning by sotmding the horn vhen necessaty, and shall
                                  exercise proper precaution upon obselving any child or any
                                  confused or incapdcitated pelson upon a roadway.
                                  (b) Nomithstanding any speed li xit or zone in effect at the time,
                                  or right of way rules that may be applicable, every driver of a
                                    xotor vehicle shall exercise due ccne to o,'toid colliding with any
                                  other nxotor yehicle, either being driven or legally parked, upon
                                  any roadway, or cmy rcad sign, guard rail or any frxed object
                                  legally placed within ol beside the rcadwoy right of way, by
                                  operating such motor vehicle at a safe speed, by maintaining a
                                  safe lookout, by keeping such motor vehicle under proper control
                                  and by devoting full time and attention to opelating such motor
                                  vehicle, under the existing circunxstances to avoid endangering
                                  life, litnb or property.
                                  (c) A violation of this section is a Class C misdemeanor.

             Sectiott 55-10-202   Operating avehicle contrary to law    -
                                  (a) It is mlcrwful for the owner, or arry other person, employing
                                  or otherwise directing the drister of any vehicle to require or
                                  Iv'towingly to pemit the operation of such vehicle upon a
                                  highway in any manner conftary to law.
                                  (b) A t iolation ofthis section is a Class C misdemeanor.

             Section 55-10-205    Reckless driving.
                                  (a) Any person who drives any vehicle in willful or wanton
                                  disregmd for the safety ofpersons or property cotnmits reckless
                                  driving.

             Section 55-10-I0l    Accidents involving death or personal injary

                                  (a) The driver of any vehicle involved in
                                  an accident resulting in injury to or death of any person
                                  shall immediately stop the vehicle at the scene of
                                  the accident or as close to the sceneas possible, but shall
                                  then return to and in every event shall remain at
                                  the scene of theaccident until the driver has fulfilled the
                                  requirements of 6 55-10-103. The stop shall be made
                                  without obstructing traffic more than is necessary. The
                                  requirements in this subsection (a) apply
                                  to accidents occurring upon highways and the premises of
                                  any shopping center, trailer park or any apartment house
                                  complex, or any other premises that are generally
                                  frequented by the public at large.
                                  (b)
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                                             (1) A violation of subsection (a) is a Class A
                                             misdemeanor.
                                             (2)
                                                 (A) It is a Class E felony for any person to fail to
                                                 stop or to comply with the requirements of
                                                 subsection (a) when the person knew or should
                                                 reasonably have known that death resulted from
                                                 the accident.

        25.     Plaintiff chalges and alleges that the Defendant, Nicholas Edward Duggan,

 violated certain ordinances of the City of Memphis which were in fuli force and effect at tle time

 and place of the collision and applicable as set forth in the City of Memphis Municipal Code,

 constituting negligence per se, and imputed to Defendant, Jack Key Auto Transport, Inc. AKA

 Red Leasing, LLC., to wil:

                Section 1l-16-2: DutJ) to devotefull tin e and altention to operating vehicle;
                                It shall be unlawful for a driver of a vehicle to fail to devote;full time to
                                the driving of said vehicle when such failure, under the then existing
                                circumstances, endangers life, limb or property.

                Section 11-16-3: Duty to drive at s fe speed, maintdin lookoat keep vehicle uncler
                confiol;
                              Notwithstanding cuty speed limit or zone in efect at the time, or right-of-
                              way rules thdt may be applicable, every driver shall:
                               L Operate his vehicle at a safe speed;
                              2. Maintain a safe lookout;
                              3. Use due care to keep his vehicle under control.

                Section 11-1614: Driving on roadwalts lanedfor trafJic;

                                 Wheneyer any roadwoy has been divided        into two or more clearly
                                 marked lanes   for trffic,   the
                                                               following rules, in dddition to all others
                                consistent herewith, shall apply:
                                A. A vehicle shall be driven entirely within a single kme and shall
                                not be moved front such lane until the driver has ascertained that such
                                moyement can be ntade with safety.

                Seclion I 1-16-44 : Reckless driving;
                                 Any person. who drives any vehicle in a willful or wanton disregard     for
                                 the safety ofpersons or property is guilty ofreckless driring.


        26.     Plaintiff charges and alleges that one, some, or all afolesaid acts of common 1aw

 negligence, violations of the State of Tennessee, and/or violations           of   Ordinances   of City of
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 Memphis by Defendants were the direct and proximate cause of the collision at issue and

 Plaintiffs resulting injuries to be hereinafter    set out   with more particularity.

                                      INJURIES AND DAMAGES

           2'1.   Plaintiff, Tomeka L. Taper, alleges that as a direct and proximate result of the

 herein above described violations of the common law, state statutes, city ordinances, and

 negligent entrustrnent by Defendants, Plaintifl Tomeka Taper, sustained multiple, serious, and

 disabling injuries to her body as a whole, including, but not limited to, a contusion to her

 forehead, injuries to her neck, back and head, mental anguish, loss             of enjoyment of   1ife, and

 anxiety caused by the subject wreck.

           28.    Plaintiff, Tomeka Taper, alleges that she has endured pain and suffering and

 may continue to suffer from the injuries arising out of the subject wleck.

           29.    Plaintifl Tomeka Taper', alleges that        she has incurred reasonable and necessary

 medical expenses in order to alleviate her pain and suffering, and verily believes that she will

 incur said expenses in the future.

           30.    Plaintiff, Tomeka Taper, further alleges that she has sustained a loss of quality

 and enjoyment of the normal pleasures of life as a result ofthe subject wreck, past, present, and

 future.

           31.    Plaintiff, Tomeka Taper, filther alleges that she has sustained mental anguish as a

 result of the subject wreck, past, present, and future.

           32.    Plaintiff further alleges that she is suffering fiom depression since the subject

 wleck and is seeking treatment for this injury.

           33.    Pursuant to T.C.A. $24-5-   1   13(b), Plaintiff, Tomeka Taper's, medical bil1s are

 itemized and attached to this Complaint as Exhibit       "A" to this Complaint:
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                 Methodist Hospital - North                                     $ 4,s29.40
                 T.M. Can, MD                                                   $ 275.00
                 Memphis Radiological                                           $ 228.00
                 TLC Medical & Physicai Therapy Clinic, LLC                     $ 3,28s..00
                 Methodist Hospital - Norlh                                     $ 783.00
                 T.M. Can, MD                                                   $ 200.00
                 Memphis Center for Women and Families                          $ 370.00
                           Total Medicals                                       $ 9,640.40

            34.      Plaintiff, Tomeka Taper, finlher alleges that she was operating her 2011

 Chevrolet lmpala at the time of the subject accident and that, as a direct and proximate result   of

 the herein described negligent acts of Defendants, she sustained property damage and loss ofuse

 and sues for any and al1 allowable propefty damages under the law.



                                               RELIEF

         WIIERLFORE, PREMISES CONSIDERID, Plaintiff, Tomeka L. Taper, respectfully

 sues Defendants, Nicholas Edward Duggan and Jack Key Auto Transport, lnc.              AKA   Red

 Leasing, LLC., for a reasonable amount of restitution and compensation for damages to be

 determined by twelve Honorable and good citizens of Shelby County but not to exceed the sum

 of THREE HUNDRED THOUSAND DOLLARS AND 00/100 ($300,000.00).




         WHEREF ORE, PREMISES CONSIDERED, Plaintiff respectfully prays for damages

 as they may appeal on the trial     of this cause reserving the right to amend this pleading to

 conform to the facts as they may develop, for cost and interest, and for al1 other general relief

 justified by the facts under the law or equity.



                                                   Respectfu lly submitted,

                                                   NAIION SAIIAROVICH & TROTZ, PLC


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                                             . ,'/.,/,/   /
                                             /"L/
                                     Mar* N. Geller (BPR # 022797)
                                     Attomey for the Plaintiff
                                     488 South Mendenlall
                                     Memphis, Tennessee 381 17
                                     Phone: (901) 462-3353
                                     Fax: (901)746-1553




                                        10
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                                                      (CIRCUIT/CHANCERY) COURT OF TENNESSEE
                                                   l40ADAMS AVENUE. MEMpHtS, TENNESSEE 38103
                                                  FOR THE THIRTIETH JUDICIAL DISTRICTAT MEMPHIS

                                                            SUMMONS IN CIVIL ACTION

  o".1", ru". C:f'           Ci, 2-*SC\{                             C   Divorce                           Ad Damnum g

            L. TAPER
                                                                                                EDWARD DUGGAN and JACK KEy AUTO TRANSPORI
                                                       qurT-[x                             AKA RED LEASING, TLC.
                                           {\..T5rI-
                                                                             V5




                                   plaintiff(s)
                                                                                                                 Defendant(s)
 TO: (Name and Address of Defendant (One defendant per summons))
                                                                                                                          Method of5ervice:
       KEY AUTO TRANSPORT.INC.            AKA RED LEASING, LLC.
                                                                                                               C Shelby County Sheriff
                                                                                                               C Commissioner oflnsurance            (S)
                                                                                                               C Secretary of State (g)
                                                                                                               C Other   TN County Sheriff(S)
                                                                                                               ?   Private Process Server


                                                                                                                         ($)AttachRequired   Fees
 You are hereby summoned and required to defend a civil action by filing your answer with
                                                                                          the clerk of the Court and
 serving a copy of your answer to the Complaint on Mark N.            Geller                                       plaintiffs
attorne, whose addr"tr ir +a8 Sor,h M"nd"nhull,               lrl                                                                    l)   462-3353
 within rHtRry(3o) DAys aft                                                           day of                   serviGltlyiidilt6tiiiil
judgment by default may be taken against you for the reliefdemanded in the
                                                                           Compliint.

                                                                                                          JIMMY MOORE                                Clerk


 rEsrEDANDtssuED                      {z:t,'-c.)     t,{                           By

                                                                    TO THE DEFENDANT:

NOTICE; Pursuant to Chapter 919    ofthe public Acts of 1980, you are hereby given the following notice:
Tennessee law provides a four thousand dollar (54,000) personal property eiemption from u"""cution
                                                                                                         l, seizrre to saffi a ludgment. lfa judgment
should be entered against you in this action and you wish to claim property as eiempt, you must file a
                                                                                                           written list, unde;oath, ofthe items you wish
to claim as exempt with the clerk ofthe court. The list may be filed at any time and may be changed by you
                                                                                                                 th"r".ft"i n".".r"ry; however, unless
it is filed before the iudgment becomes final, it will not be effective as to any execution.or garnisimeni                  ", filing ofthe li5t. certain
                                                                                                           issued prior to the
items are automatically exempt by law and do not need to be listed. These include items oi necessary wearing
                                                                                                                   uppai"tiiio$,ing) iol. yourselfand
                                             necessary to cofiain such apparel, famity portraits, the f;ity BibE una r.t'oot
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to
         j:ff:^:.::,^z:1yo-u.would
    seekthe counselofa lawyer.
                                   have the right ro recover them. tfyou do not underitand your exempttn risht         h; t;;;;;;;        ii yr" #., *or.
                                                                                                                      ",

                                    FOR AMERICANS WITH DISABIIITIES ACT (ADA) ASSISTANCE
                                                                                         QNLY, CALL (9OI ) 379-7895
l, JIMMY   MOORE      , Clerk of the Court,
Shelby Count, Tennessee, certi6/ this to
be a true and accurate copy as filed this




JIMMYMOORE                 Clerk
                       ,




By:                                          na
